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DIVISION, W.D. of Vv
IN THE

UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF VIRGINIA

DANVILLE DIVISION
UNITED STATES OF AMERICA
v. Criminal No. 4:18-CR-0001 1-10
: In violation of:
TENIKQUA FULLER : Title 18, U.S.C. § 4
INFORMATION
Count One

The United States Attorney for the Western District of Virginia charges:

That from in or about August 20-21, 2016, in the Western Judicial District of Virginia,
the defendant TENIKQUA FULLER, having knowledge of the actual commission of a felony
cognizable by a court of the United States, to wit, the Violent Crime in Aid of Racketeering for
the Murder of Christopher Motley charged in Count 10 of the First Superseding Indictment in
case United States v. Marcus Davis, 4:18-cr-11, did conceal the same by allowing firearms used
in the murder to be hidden in her apartment, by aiding individuals involved in the murder to
dispose or eliminate evidence of the murder, by concealing individuals involved in the murder in
her apartment after the murder, and by lying to law enforcement of her knowledge of the murder,
and did not as soon as possible make known the same to some judge or other person in civil or
military authority under the United States.

In violation of Title 18, United States Code, Section 4.

 

THOMAS T. CULLEN
UNITED STATES ATTORNEY

Date: (O~2 3-209 Lexie Cher Wy wall

2018R00300

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